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 1                                                            Judge Richard A. Jones
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                              UNITED STATES DISTRICT COURT FOR THE
 6
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
      UNITED STATES OF AMERICA,                               NO. CR14-197RAJ
 9
                               Plaintiff,
10
                         v.
11                                                            ORDER CONTINUING TRIAL
      HECTOR HERNANDEZ-MORENO,
                                                              DATE AND PRETRIAL MOTIONS
12    EDUARDO ESTRADA-NIETO,
                                                              DEADLINE
      ELFEGO VELASCO-CABRERA,
13
      JAHRI CUNNINGHAM,
14    GUSTAVO VELAZQUEZ-FUERTE,
      DANIEL MEJIA-VELAZQUEZ, and
15
      DANIEL MENDOZA-FLORES,
16
                              Defendants.
17
18           THIS MATTER is before the Court on the motion of the government and

19 Defendants Hernandez-Moreno, Estrada-Nieto, Velasco-Cabrera, Velazquez-Fuerte,
20 Mejia-Velazquez, and Mendoza-Flores to continue the trial in this matter. Defendant
21 Jahri Cunningham has not joined the motion, but indicates no opposition and has filed a
22 speedy trial waiver. Defendant Aristeo Rodriguez-Ramirez remains on fugitive status.
23           HAVING CONSIDERED this motion, the file and the records in this case, the

24 Court finds that the ends of justice are served by granting the continuance. The Court
25 further finds that this case involved a lengthy investigation into multiple defendants. This
26 investigation included six different interception orders and the interception of nine
27 different telephones. Accordingly, the government has produced over 4000 pages of
28 Bates-stamped discovery, as well as audio recordings of intercepted calls, text messages,

     Order Continuing Trial                                                      UNITED STATES ATTORNEY
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     CR14-197RAJ/Hernandez-Moreno, et al. - 1                                     SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
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 1 and linesheets. The government has prepared substantial amount of electronic discovery
 2 (including photographs and surveillance videos) for production, as well. The government
 3 has filed notices of related case for two other large, multi-defendant cases, United States
 4 v. Venegas-Ramirez, et al., CR14-198RAJ and United States v. Sauceda-Macias, et al.,
 5 CR14-200RAJ, and the discovery for this investigation has been produced to all
 6 defendants in these cases. The Court finds that defendants speak Spanish and in some
 7 instances, the assistance of an interpreter is required for the review of discovery. Finally,
 8 the six joining defendants have filed speedy trial waivers to accommodate the requested
 9 continuance. Defendant Jahri Cunningham has not joined the motion, but has filed a
10 speedy trial waiver.
11           THE COURT FINDS THAT given the extensive amount of discovery material,
12 the number of defendants, and the need for counsel to review this material with
13 defendants and in some cases with an interpreter, the failure to grant the requested
14 continuance would unreasonably deny defense counsel the time necessary to prepare for
15 trial, taking into consideration the exercise of due diligence. Accordingly, the ends of
16 justice served by a continuance outweigh the best interests of the public and the
17 defendants in a speedy trial.
18           IT IS THEREFORE ORDERED that trial shall be continued to May 11, 2015, and
19 the time between the date of this order and the new trial date of May 11, 2015 is
20 excludable pursuant to 18 U.S.C. §§ 3161(h)(6), 3161(h)(7)(A), 3161(h)(7)(B)(ii),
21 3161(h)(7)(B)(iv).
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 1           IT IS FURTHER ORDERED that all pretrial motions, including motions in
 2 limine, shall be filed no later than March 19, 2015.
 3           DATED this 4th day of September, 2014.
 4
 5                                                       A
 6                                                       The Honorable Richard A. Jones
                                                         United States District Judge
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